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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON THE JUDICIARY,
UNITED STATES HOUSE OF
REPRESENTATIVES,
2138 Rayburn House Office Building
Washington, D.C. 20515,

                              Plaintiff,

                                             Case No. 1:19-cv-2379
     v.


DONALD F. MCGAHN II,
51 Louisiana Avenue, N.W.
Washington, D.C. 20001,

                               Defendant.




                                 Exhibit N
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JERROLD NADLER, New York                                                                    DOUG COLLINS, Georgia
  CHAIRMAN                                                                                   RANKING MEMBER

ZOE LOFGREN, California                                                                     F. JAMES SENSENBRENNER, JR., Wisconsin
SHEILA JACKSON LEE, Texas                                                                   STEVE CHABOT, Ohio
STEVE COHEN, Tennessee                         ONE HUNDRED SIXTEENTH CONGRESS               LOUIE GOHMERT, Texas



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HENRY C. "HANK" JOHNSON, JR., Georgia                                                       JIM JORDAN, Ohio
TED DEUTCH, Florida                                                                         KEN BUCK, Colorado
KAREN BASS, California                                                                      JOHN RATCLIFFE, Texas
CEDRIC L. RICHMOND, Louisiana                                                               MARTHA ROBY, Alabama
                                                                                            MATT GAETZ, Florida

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ERIC SWALWELL, California                                                                   ANDY BIGGS, Arizona
TED LIEU, California                                                                        TOM McCLINTOCK, California
JAMIE RASKIN, Maryland                        COMMITIEE ON THE JUDICIARY                    DEBBIE LESKO, Arizona
PRAMi LA JAYAPAL, Washington                                                                GUY RESCHENTHALER, Pennsylvania
VAL DEMINGS, Florida                                                                        BEN CLINE, Virginia
LOU CORREA, California
                                              2138   RAYBURN HOUSE OFFICE BUILDING          KELLY ARMSTRONG, Alabama
MARY GAY SCANLON, Pennsylvania                                                              GREG STEUBE, Florida
SYLVIA GARCIA, Texas                             WASHINGTON,        DC 20515-6216
JOSEPH NEGUSE, Colorado
LUCY McBATH, Georgia                                       (202) 225-3951
GREG STANTON, Arizona                                 http://www.house.gov/judiciary
MADELEINE DEAN, Pennsylvania
DEBBIE MUCARSEL·POWELL, Florida
VERONICA ESCOBAR, Texas

                                                          May 3, 2019

           The Honorable William P. Barr
           Attorney General
           U.S. Department of Justice
           950 Pennsylvania Avenue, N.W.
           Washington, D.C. 20530

           Dear Attorney General Barr:

                   I write to respond to the Department's letter of May 1, 2019 refusing to comply with the
           Judiciary Committee's subpoena for the unredacted Mueller report, the documents it cites, and
           other underlying materials. As you know, the Committee has repeatedly engaged with your staff
           in writing, by telephone and in person to discuss a way forward on the subpoena.

                   At the outset, we note that the Department has never explained why it is willing to allow
           only a small number of Members to view a less-redacted version of the report, subject to the
           condition that they cannot discuss what they have seen with anyone else. The Department also
           remains unwilling to work with the Committee to seek a court order permitting disclosure of
           materials in the report that are subject to Federal Rule of Criminal Procedure 6(e). And the
           Department has offered no reason whatsoever for failing to produce the evidence underlying the
           report, except for a complaint that there is too much of it and a vague assertion about the
           sensitivity of law enforcement files.

                   Nonetheless, the Committee remains willing to negotiate a reasonable accommodation
           with the Department. First, the Committee requests that the Department reconsider its refusal to
           allow all Members of Congress and appropriate staff to view redacted portions of the report that
           are not subject to Rule 6(e) in a secure location in Congress. As the Committee has already
           indicated, Congress has ample means of providing for safe storage of these materials; and it is
           routinely entrusted with the responsibility to protect classified and other sensitive information.



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       Second, the Committee renews its request that the Department work jointly with
Congress to seek a court order permitting disclosure of materials covered by Rule 6(e). The
Department has asserted that Rule 6(e) "contains no exception" that would permit such
disclosure, but courts have provided Rule '6(e) materials to Congress under the rule's "judicial
proceeding" exception in the past, 1 and other exceptions may also be available.2

        Third, the Committee is willing to prioritize a specific, defined set of underlying
investigative and evidentiary materials for immediate production. As indicated in item two of
the Committee's subpoena, the Committee has a heightened interest in obtaining access to the
investigative and evidentiary materials specifically cited in the report. This discrete and readily
identifiable set of documents includes reports from witness interviews (commonly known as
"302s") and items such as contemporaneous notes taken by witnesses of relevant events. Since
these materials are publicly cited and described in the Mueller report, there can be no question
about the Committee's need for and right to this underlying evidence in order to independently
evaluate the facts that Special Counsel Mueller uncovered and fulfill our constitutional duties.
As the Mueller report makes clear, this need is amplified where, as here, Department policy
prohibits the indictment of a sitting President and instead relies upon Congress to evaluate
whether constitutional remedies are appropriate. In addition, to the extent these materials are
classified or contain sensitive law enforcement information, we are prepared to maintain their
confidentiality as we regularly do with similar information.

       Fourth, as we have already indicated in the instructions to the subpoena, we are also
prepared to discuss limiting and prioritizing our request in item three of the subpoena for other
underlying evidence obtained by the Special Counsel's office.

        Accommodation requires negotiation that takes into account the legitimate interests and
responsibilities of both Congress and the Department. Your proposed conditions are a departure
from accommodations made by previous Attorneys General of both parties. As recently as last
Congress, the Department produced more than 880,000 pages of sensitive investigative materials
pertaining to its investigation of Hillary Clinton, as well as much other material relating to the
then-ongoing Russia investigation. That production included highly classified material, notes
from FBI interviews, internal text messages, and law enforcement memoranda. The volume of
documents cited in the Special Counsel's report is surely smaller, and the Committee is willing

1See, e.g., In re Grand Jury Proceedings of Grand Jury No. 81-1 (Miami), 669 F.Supp. 1072, 1075-76 (S.D. Fla.
1987):
2 See Fed. R. Crim.P. 6(e)(3)( D) (allowing disclosure of grand jury materials "involving foreign intelligence,
counterintelligence ..., or foreign intelligence information" to "any federal law enforcement, intelligence, ...or
national security official to assist the official receiving the information in'the performance of that official's duties");
id. (allowing disclosure of grand jury materials relating to "a threat of attack or other grave hostile acts of a foreign
power or its agent ... , or clandestine intelligence gathering activities by an intelligence service or network of a
foreign power or by its agent" to "any appropriate federal ... official").

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to work with the Department to prioritize production of materials even within that defined
category. Additionally, in the most recent prior instance in which the Department conducted an
investigation of a sitting President, Kenneth Starr produced a 445-page report to Congress along
with 18 boxes of accompanying evidence.

        Lastly, it cannot go unremarked that, in refusing to comply with congressional oversight
requests, the Department has repeatedly asserted that Congress's requests do not serve
"legitimate" purposes. This is not the Department's judgment to make. Congress's
constitutional, oversight and legislative interest in investigating misconduct by the President and
his associates cannot be disputed. The Committee has ample jurisdiction under House Rule X(l)
to conduct oversight of the Department, undertake necessary investigations, and consider
legislation regarding the federal obstruction ofjustice statutes, campaign-related crimes, and
special counsel investigations, among other things.

        The Committee is prepared to make every realistic effort to reach an accommodation
with the Department. But if the Department persists in its baseless refusal to comply with a
validly issued subpoena, the Committee will move to contempt proceedings and seek further
legal recourse.

        We request a response by 9 a.m. on Monday, May 6, 2019. Please do not hesitate to
contact us if you have any questions.

                                              Sincerely,




                                              House Committee on the Judiciary

cc:    The Hon. Doug Collins
       Ranking Member, House Committee on the Judicia�y




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